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        UNITED STATES BANKRUPTCY COURT OF GEORGIA
                                                                                  'Put
                             NORTHERN DISTRICT


   CASSANDRA JO 4NSON-LANDRY
   DEBTOR                                                  BRC 18-55697LRC




   ADDENDUM RESPONSE TO ORDER DEFERRUNG RULING ON APPPROVAL OF
   CHAPTER 7 TRUSTEE'S FINAL REPORT AND TRUSTEE'S APPLICATION FOR
   COMPENSATION AND GRANTING TRUSTEE'S REQUEST FOR REIMBURSEMENT
   OF EXPENSES AND APPLICATION FOR COMPENSATION OF PROFESSIONAL.


 CASSANDRA JOHNSON-LANDRY, DEBTOR currently submits addendum to the required
 order. Debtor overlook approximately 2 to 3 claims as required within Debtor's Response.

                                     I.

 CACH LLC. Claim number 14 is a commercial claim and should be filed into Debtor's personal
 Bankruptcy. Debtor submitted copies of all payments to Trustee in addition to uploaded payment
 into current Bankruptcy case. The amount submitted is false and as stated proof of payments
 were uploaded within Bankruptcy Case. Alliance for Change through Treatment is a LLC. and
 did not file Bankruptcy. This account was being paid weekly via electronic funds deduction.



                                     2.

 EMORY EASTSIDE. CLAIM NUMBER 161s a Medical Claim and should be discharged. This
 claim was also paid in full. Debtor will locate proof of payment.




     day of May   21


 Cassandra John n-Landry,
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        UNITED STATES BANKRUPTCY COURT OF GEORGIA
                      NORTHERN DISTRICT


                        CERTIFICATE OF SERVICE


   I, CASSANDRA JOHNSON-LANDRY, Debtor, currently submit,
   ADDENDUM RESPONSE TO ORDER DEFERRUNG RULING ON
   APPPROVAL OF CHAPTER 7 TRUSTEE'S FINAL REPORT AND
   'rRUSTEE'S APPLICATION FOR COMPENSATION AND GRANTING
   TRUSTEE'S REQUEST FOR REIMBURSEMENT OF EXPENSES AND
   APPLICATION FOR COMPENSATION OF PROFESSIONAL on the 18th
   Day of May 2021. Debtor is over the age of 18 years. Debtor requests submitted
   document be distributed to parties located on Debtor's Bankruptcy Matrix.




   18 Day of May 2021




   Cassandra Joni on-Landi     ro Sc
